                                                                                       FILED
                                                                                     APR 18 201
                   IN THE UNITED STATES DISTRICT COURT                         ~l/EA. RICf'IAR      2
                                                                             8'1-.::.!!'Stf1c}~t. CLERI(
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA                       ~01~
                                SOUTHERN OIVISON
                                               )

Anthony Peake                                  )

                                               )

                                               )

                                               )     COMPLAINT
Onslow County Child Support                    )

Marlene Becker. and Policy                     )
Studies. Inc.                                  )



Plaintiff resides at:
P.O. Box 565
Jacksonville. NC 28546


Defendant(s) and address (es). ifknown:
Onslow County Child Support Agency. 3886 Henderson Drive Ext.. Jacksonville. NC 28546:
Marlene Becker. 2886 Henderson Drive Ext.. Jacksonville. NC 28546: Policy Studies. Inc.
1515 Wynkoop Street. Denver. CO 80202.


Jurisdiction of the court is based on:
The tacts that the plaintiff (Anthony Peake) and   del~ndant (Marlene   Becker) reside in Onslow
County in the State of North Carolina. Defendants Onslow County Child Support Agency und
Policy Studies. Inc. conduct business in Onslo\\ County.   ~orth   Carolina. Finally. defendant
Policy Studies. Inc. home ol1ice is located in Denver. CO.


The acts complained of in this suit concern:
Policy Studies. Inc. was negligent in supplying defendants Onslow County Child Support
Agency and Marlene Becker(an officer of the agency) with incorrect employment information
stating that the plaintiff (Anthony Peake) was currently employed with Helping Hands \vhich he


\vas no longer an employee. On October 31. 2008. defendants Onslow County Child Support
and Marlene Becker. peljured themselves by stating on line 4 of the plaintiffs child support




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order stating that the plaintiff is employed by Helping Hands and made a salary of $3.066.00
a month to gain a court order against the plaintiff for child support. On February 5. 2009
defendants Onslow County Child Support Agency and Marlene Becker. continue through
their negligent actions by not correcting the issue even though the Pbintiff (Anthony Peake)
informed them of the error and the plaintiff provided proof. During four other modi tication
hearings both       det~ndants   Onslow County Child Support Agency and Marlene Becker. failed
to correct the issue still even though the plaintitf(Anthony Peake) provided them with a
confirmation letter stating that the plaintiff v.,as terminated as of April 2. 2008 from his position
with Helping Hands dated September 26. 2008. negligent actions along v.. ith the constant
harassment and show cause hearings have caused the plaintiff (Anthony Peake) extreme
emotional distress. lack of sleep. nervousness. depression. fear. high blood pressure. loss of
business. hume. ,'ehides. and storage.


The plaintilTsecks the following relief:


That the defendants are liable to the plaintifTjointly and severally. for the aforesaid damages
which exceeds one hundred thousand dollars ($100.000). That the plaintifTrccover or the
(kfendants. jointly and severally. judgment for compensatory damages in an amount that
exceeds one hundred thousand dollars ($100.000). plus compensation for mental anguish and
loss of business earnings in the amount or lour million dollars ($4.000.000.00). The cost of this
action be taxed against the defendants. For such other and further relief as the Court deemsjusl
and proper.


WHEREFORE. having                set   10rth this cause ol'action the plaintitlrespecll'ully demands ajury
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                                                                            P.O. Box 565
                                                                            Jacksonville. NC 28546
                                                                            (804) 247-6161


                                                               ADDRESS AND PI-ION I' NIII\II3I::R of I'L,-\INTIFF




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